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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,

v.                                        Civil Action No. 2:16-cv-00287-cr

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

      Defendants.


DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S RESPONSE TO STATEMENT OF INTEREST ON BEHALF
                 OF THE UNITED STATES OF AMERICA
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        The Department of Justice’s Statement of Interest (“SOI”), ECF No. 285, provides the

Antitrust Division’s (“Division”) unsolicited views on four propositions of law related to the

Capper-Volstead Act (the “CVA”) that are not in dispute in this case. The Division does not

address the threshold question of whether Dairy Farmers of America, Inc. (“DFA”) qualifies as a

“bona fide agricultural cooperative” under the CVA in the first instance. The one question of

statutory interpretation before this Court that is actually in dispute is relevant only to that threshold

question—namely, what evidence is relevant to determine whether a cooperative is “operated for

the mutual benefit of the members thereof, as such producers” in order to qualify under the CVA.

7 U.S.C. § 291. The Division skips over that question regarding DFA’s initial qualification for

CVA protection, and focuses exclusively on the secondary issue of whether that qualification

immunizes DFA from the specific allegations in this case. That secondary question is not disputed;

DFA does not contend that the CVA immunizes any of the alleged predatory conduct that plaintiffs

challenge.1

        Because the Division does not address any actual legal issue that is in dispute in this case,

28 U.S.C. § 517 does not give the Division any legal authority to provide its views on the Capper-

Volstead Act, and the Court can disregard the SOI altogether.2 In any event, the Court does not




1
        See infra n.7 (reserving DFA’s rights based on the presentation of evidence at trial).
2
        See, e.g., United States v. Salus Rehab., 2017 WL 1495862, at *1 (M.D. Fla. Apr. 26, 2017)
(“Nothing about Section 517 supports an intent to create in the Solicitor General the right to appear
and submit argument in any case in which the United States articulates a generic interest in the
‘development’ and the ‘correct application’ of the law.”); Oscar Ins. Co. of Fla. v. Blue Cross &
Blue Shield of Fla., Inc., 413 F. Supp. 3d 1198, 1200 n.1 (M.D. Fla. 2019) (same). Courts have
recently denied the Division’s requests to argue orally in private litigation. See, e.g., Order Den.
Req. of the U.S. to Participate in the Dec. 6, 2019 Hr’g on Defs.’ Mot. to Dismiss, William Morris
Endeavor Entm’t, LLC v. Writers Guild of Am., No. 2:19-cv-05465-AB-AFMx (C.D. Cal. Dec. 2,
2019), ECF No. 62; Order Den. Opposed Mot. of the U.S. to Participate in the Dec. 4, 2019 Hr’g,
NextEra Energy Capital Holdings, Inc. v. Walker, No. 1:19-cv-00626-LY (W.D. Tex. Dec. 2,
2019), ECF No. 132.
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owe any deference to the Division’s views about the contours of the CVA or its application to the

facts here.3 We briefly address each of the Division’s points below solely to eliminate any

confusion that the Division’s filing may have caused about what is (and is not) in dispute in this

case.

                                           DISCUSSION

I.      DFA ACKNOWLEDGES THAT CAPPER-VOLSTEAD ACT IMMUNITY IS AN
        AFFIRMATIVE DEFENSE FOR WHICH DFA BEARS THE BURDEN OF PROOF

        The Division spends over two pages in the SOI arguing that qualifying for immunity under

the CVA is an affirmative defense, and thus, it is DFA’s burden to prove that it is a “bona fide

cooperative” (i.e., that it meets the statutory requirements). SOI at 11-13. Contrary to the

Division’s suggestion, DFA has not argued otherwise. In reality, the Division aims these pages of

its statement at its own hypothetical speculation about DFA’s position. See id. at 13 (“To the

extent that Defendants’ argument is . . . .”). But there is no need to guess at DFA’s views on this

issue, because DFA has made them clear. During the July 21, 2020 hearing on motions in limine


3
        See Rhodes-Bradford v. Keisler, 507 F.3d 77, 80 (2d Cir. 2007) (“The agency’s claim . . . is
merely a litigating position taken before this Court, and, as such, is not entitled to Chevron
deference.”); LSP Transmission Holdings, LLC v. Lange, 329 F. Supp. 3d 695, 703 (D. Minn.
2018) (“It is solely within the Court’s discretion to permit or deny a statement of interest.”). When
arguing that deference should not attach to another federal agency’s interpretation of the Capper-
Volstead Act, plaintiffs took the position that affording Chevron deference to an agency
interpretation “is warranted only when it appears that Congress delegated authority to the agency
generally to make rules carrying the force of law, and that the agency interpretation claiming
deference was promulgated in the exercise of that authority.” Kellogg v. Wyeth, 612 F. Supp. 2d
421, 433 (D. Vt. 2008) (Sessions, J.) (emphasis added) (citation omitted) (cited in Pls.’ Opp’n to
DFA’s Mot. In Limine No. 9, ECF No. 265). The Division does not satisfy those requirements.
The Antitrust Division of the U.S. Department of Justice has no specially delegated authority from
Congress to promulgate binding interpretations of the Sherman Act, much less the Capper-
Volstead Act. See, e.g., New York v. Deutsche Telekom AG, 439 F. Supp. 3d 179, 232 (S.D.N.Y.
2020) (ruling that Antitrust Division’s guidelines on application and interpretation of antitrust laws
“are not ultimately binding upon the courts”); FTC v. PPG Indus., Inc., 798 F.2d 1500, 1503 n.4
(D.D.C. 1986) (“We note that the Department of Justice Guidelines offer a useful illustration of
the application of the [Herfindahl-Hirschman Index], but are by no means to be considered binding
on the court.”).

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(which the Division did not attend), for example, DFA expressly confirmed that it agrees that the

CVA is an affirmative defense for which DFA bears the burden of proof.4

         DFA did not argue otherwise in its summary judgment reply brief. There, DFA simply

argued that, if DFA meets its threshold showing that it qualifies for CVA protection by satisfying

the statutory requirements (which it does), then under the Second Circuit’s decision in Fairdale

Farms, Inc. v. Yankee Milk, Inc., 635 F.2d 1037 (2d Cir. 1980), plaintiffs cannot establish a

Section 2 violation unless they prove that DFA acquired its alleged monopsony power through

predatory conduct. See DFA’s Reply in Supp. of Mot. for Summ. J. at 7-9, ECF No. 115. DFA

of course bears the burden of proving that it is a qualified cooperative under the CVA. Thus, the

Division’s statement on the allocation of this burden does not provide any useful guidance on any

disputed issue.

II.      DFA DOES NOT CONTEND THAT IT HAS IMMUNITY FOR ANY OF THE
         THREE TYPES OF THIRD-PARTY AGREEMENTS THAT PLAINTIFFS CLAIM
         ARE ANTICOMPETITIVE, SO DFA BEARS NO BURDEN TO PROVE THAT
         THE CVA APPLIES TO THAT CONDUCT

         The Division’s second core proposition is equally misdirected. The Division contends that,

after DFA establishes that it meets the CVA’s threshold requirements, DFA also bears the burden

of showing that the CVA protects against liability for the specific type of alleged anticompetitive

conduct at issue. SOI at 12-13 (“[A]pplying the Act as an affirmative defense means that once

plaintiffs have made such allegations, the defendant then bears the burden to show that its alleged

conduct falls within the terms of the Act.”). That would be true if DFA claimed immunity for

engaging in allegedly predatory conduct. But it is irrelevant here because DFA makes no such

claim.



4
       See July 21, 2020 Hr’g Tr. 107:21-22, ECF No. 282 (“Hr’g Tr.”) (“We agree it’s an
affirmative defense. We bear the burden of proof on that.”).

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       DFA has never argued that the CVA insulates DFA from any of the specific alleged

anticompetitive conduct that plaintiffs have based their claims on—as set forth in plaintiffs’

Proposed Jury Instructions Nos. 8 and 23, ECF No. 275—at all. See, e.g., Hr’g Tr. 104:23-106:13

(agreeing that DFA has the burden to prove that it is a qualifying cooperative and that the CVA

does not provide a blanket immunity for all conduct); see also id. at 105:17-24 (emphasizing that

DFA is “not asking to immunize under the Capper-Volstead Act any agreements that are alleged

to exist between [DFA] and any nonproducers,” including non-solicitation agreements, because

“[w]e are not saying that the Capper-Volstead Act protects any of that”).

       Because DFA does not seek CVA immunity for the specific allegedly anticompetitive acts

that plaintiffs say give rise to their claims,5 DFA of course has no burden to prove that such conduct

falls within the ambit of what the CVA protects.

       To be very clear:      DFA never conspired with any entity, at all, for any purposes

whatsoever—much less to suppress dairy farmer pay prices or eliminate competition among

buyers of raw milk in Order 1. Nor did DFA engage in any conduct at all to “coerce” farmers to

do anything.     The “conduct” plaintiffs primarily complain about—including supply and

outsourcing agreements between DFA and its customers, and normal procompetitive efforts to

vertically integrate—are not unreasonable restraints of trade that had any adverse effect on

competition at all, nor are they “predatory” conduct within any meaning of the word. They are

basic, every-day-type business arrangements that are common in every industry, and that




5
       See Pls.’ Proposed Jury Instr. Nos. 8 and 23, ECF No. 275 (describing plaintiffs’
contentions regarding the “agreements” that form the bases for plaintiffs’ claims).

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demonstrably benefitted DFA’s and other farmers.6 DFA intends to defend them to the jury on

that basis, not as conduct immune under the CVA.7

        The point is simply this: DFA acknowledges that the CVA does not provide immunity for

conduct that was “predatory.” The Division’s view of DFA’s burdens thus aligns with what DFA

has always claimed. See Hr’g Tr. 106:14-18 (reiterating that DFA is not asserting CVA immunity

in order “to defeat [plaintiffs’] claims”).

        The fact that some conduct might fall outside of the CVA’s protections, however, says

nothing about whether DFA is qualified for the protections that the CVA does afford. And here,

it is clear the CVA does afford some protections. The CVA protects certain other conduct that the

jury will hear about in this case—specifically, DFA’s ability (1) to own and operate plants to



6
        See, e.g., Ed Jesse & Bob Cropp, Basic Milk Pricing Concepts for Dairy Farmers (A3379)
at       9,      Univ.       of      Wisconsin-Madison          Coop.         Extension        (2008),
http://www.kydairy.org/uploads/2/4/0/0/24007917/session_3_resources_milk_pricing.pdf
(“Dairy cooperatives provide a number of market-wide services that enable federal orders to
operate more efficiently. These include such services as milk procurement at the producer level,
full supply arrangements to milk bottlers (supplying the milk bottlers’ need for fluid purposes
and handling what is not needed), moving milk to the highest use and best use, and providing milk
quality testing services.” (emphases added)); Rural Dev., U.S. Dep’t of Agric., Cooperatives in the
Dairy Industry, Cooperative Information Report 1 Section 16 at 12 (rev. 2005),
https://www.rd.usda.gov/files/cir1-16.pdf (“Owning manufacturing facilities improves a
cooperative’s ability to balance member milk supply with customer demand, strengthening
its negotiating position. These cooperatives can provide their customers a full supply of raw milk
and remove the burden of disposing of unneeded milk. Manufacturing operations also offer
cooperatives the opportunity to add value to their members’ milk.” (emphases added)); id. at
8 (“Many of these large, highly specialized investor-owned fluid processing plants grew interested
in avoiding the cumbersome job of obtaining, managing, and coordinating milk supplies so they
could focus their resources on processing and marketing. They increasingly looked to cooperatives
to provide the exact amount of milk they needed. Large-scale, multi-plant cooperatives negotiated
‘full supply’ contracts with these fluid processors (and in some cases, manufacturers). Under a
full-supply contract, a cooperative provides just the milk volume the plants need and manufactures
whatever volume of milk is in excess of processor demand into other products . . . .”).
7
        Based on the facts introduced at trial, DFA reserves the right to argue that these agreements
were “necessary” to carry out the purposes set forth in the CVA. See 7 U.S.C. § 291 (authorizing
“such associations and their members [to] make the necessary contracts and agreements to effect
such purposes”). DFA acknowledges it would carry the burden of making that showing.

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process its and other farmers’ raw milk, (2) to form marketing agencies in common, such as Dairy

Marketing Services, LLC (“DMS”), for the purpose of marketing raw milk, and (3) to make the

necessary contracts and agreements to effect such purposes. See generally DFA’s Proposed Jury

Instr. Nos. 17-18, 29, 35, ECF No. 276. For example, during trial, the jury will hear evidence that

DFA formed DMS and worked together with other cooperatives, and the jury will learn that DFA

owns and operates plants that process milk from its members and other farmers. As the Court

agreed at the July 21 hearing, the jury must understand, through the jury charge, that the CVA does

insulate that type of conduct, so that the jury does not improperly base a finding of liability on that

behavior, or infer from it that DFA somehow behaved wrongfully. Hr’g Tr. 106:14-107:11.

       Of course, plaintiffs are not pursuing Sherman Act violations based on any of that conduct.

Nor could they: the text of the CVA expressly immunizes these very acts, as the Division itself

acknowledges. See, e.g., SOI at 6 (noting act immunizes cooperatives “hav[ing] marketing

agencies in common,” engaging in “collectively processing,” and other conduct); see also

7 U.S.C. § 291. Accordingly, there is no credible dispute that the three categories of conduct

discussed above fall within the CVA’s protections. Not even the plaintiffs or the Division has ever

suggested otherwise.

III.   DFA HAS NEVER CONTENDED THAT THE CVA PROVIDES A
       COOPERATIVE WITH BLANKET IMMUNITY FOR ALL ANTICOMPETITIVE
       ACTS

       In context, the majority of the Division’s statement has nothing to do with the realities of

this case. The Division spends the bulk of its statement establishing its third main point: that the

CVA does not provide blanket immunity for all conceivable anticompetitive acts. See SOI at 3-9.

In the Division’s words, there are some anticompetitive acts that “fall outside the heartland of

Capper-Volstead protection,” meaning that the CVA simply does not immunize those acts, even

though the cooperative is still a “bona fide cooperative” entitled to the protections that the CVA


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does afford for other conduct. But again, DFA has never argued otherwise. See Hr’g Tr. 105:14-

15 (“[W]e’re not asking for blanket immunity or anything close to that . . . .”). As a result, to the

extent the Division believes that DFA could not claim CVA immunity for certain conduct that

plaintiffs allege is anticompetitive—e.g., alleged (1) agreements with non-producers; (2) non-

solicitation of farmers; and (3) coercion of farmers, see SOI at 8-9, the Division’s analysis is purely

academic. DFA never engaged in any anticompetitive conduct of this nature, but DFA does not

contend that, if it had, the CVA would immunize these types of agreements. The Division’s

analysis thus does not bear on any matter at issue in this case.

       Indeed, there is only one disputed Capper-Volstead Act issue before the Court, and it is

one issue the Division conspicuously did not address: the proper standard to determine whether a

cooperative is “operated for the mutual benefit of the members thereof, as such producers” in order

to make a threshold showing that it qualifies for the CVA’s protections. 7 U.S.C. § 291. Instead

of addressing this issue, the Division focused its analysis on the separate analytical question of

whether DFA’s alleged conduct at issue could give rise to a Sherman Act violation in light of the

CVA’s limited immunity for certain types of behavior.

       Although the Division offers no position on whether DFA is correct that a threshold

showing of “mutual benefit” is an objective test into the structure of the cooperative, it is clear

that—for the reasons DFA has explained at length in its Motion in Limine No. 9, ECF No. 234—

plaintiffs cannot be right that the test is a boundless, wholly subjective inquiry, and nothing in the

Division’s statement should be read to the contrary. See id. at 4-11; see also DFA’s Reply in Supp.

of Mot. in Limine No. 9 at 7-9, ECF No. 274 (noting that plaintiffs’ interpretation of mutual benefit

would punish the farmers that the CVA is meant to protect and result in an industry-wide nightmare

for any vertically integrated cooperative).




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       Nor can it be the case that dairy farmers can be prohibited from operating as a cooperative

altogether based on a definition of “mutual benefit” that turns on the percentage of farmer-

members’ income that comes in the short term from the sale of raw milk as compared to from

long-term investments enabling the sale of products processed from that raw milk. DFA’s Reply

in Supp. of Mot. in Limine No. 9 at 3-9; see also Hr’g Tr. 117:23-118:3 (agreeing that no case has

ever suggested that a cooperative’s decision to prioritize long-term versus short-term returns and

distributions to its members affects its CVA qualifications as a cooperative).8           Such an

interpretation would grievously injure the very farmers that the CVA seeks to protect. It also

makes no sense in this context: as plaintiffs (and perhaps the Division) ignore, any profits that

DFA may earn from processing operations belong to DFA’s members and are distributed to those

members in accordance with decisions made by DFA’s farmer board, including in the form of

patronage dividends. Indeed, plaintiffs admit those processing operations are equally profitable,

and benefit DFA’s members. Pls.’ Separate Concise Statement of Disputed Material Facts in

Opp’n to Summ. J. ¶ 99, ECF No. 102. Profitable processing plants are a boon for DFA’s and

other farmers. In fact, the ability to operate as a vertically integrated producer-processor was an

explicit benefit Congress intended when passing the CVA.9 See Nat’l Broiler Mktg. Ass’n v.



8
         Nor does the mutual-benefit language involve an inquiry into whether a cooperative is
engaged in too much processing; the question of “how much processing is too much” is already
answered by objective tests contained in the clear language of the Capper-Volstead Act. For
example, “the association shall not deal in the products of nonmembers to an amount greater in
value than such as are handled by it for members.” 7 U.S.C. § 291. In other words, any cooperative
that is processing a greater value of raw product from non-members than from its members would
not be qualified under the CVA.
9
         Throughout the debates on the Capper-Volstead Act, it is clear that Congress viewed a
primary goal of the CVA as being to “bring the producers and consumer in closer contact” by, to
the extent possible, eliminating middlemen to make a “more economical system of marketing,
manufacturing, transporting, and distributing the products of the farm.” 59 Cong. Rec. 7852
(1920) (statement of Rep. Morgan); see also 59 Cong. Rec. 8022 (1920) (statement of Rep. Swope)
(“The problem, then, seems to be to, as nearly as possible, eliminate this Intermediate speculator

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United States, 436 U.S. 816, 824-25 (1978) (concluding that the CVA was passed, in part, so that

“cooperative associations could develop and provide the handling and processing services that

were needed before their members’ products could be sold” (emphasis added)). There is simply

no basis under the statute or its legislative history for any conclusion that DFA’s strategy (as

directed and supported by its dairy farmer Board of Directors) for distributing the profits of its

processing operations has any bearing on whether DFA operated for the “mutual benefit” of its

members. See Alexander v. Nat’l Farmers Org., 687 F.2d 1173, 1184-85 (8th Cir. 1982) (even

though cooperative could not pay dividends under the laws of the state where it was incorporated,

court rejected argument that it was not operated for mutual benefit of its members). The Division’s

brief does not argue otherwise.

IV.    THE DIVISION AGREES WITH THIS COURT, DFA, AND THE SECOND
       CIRCUIT THAT PLAINTIFFS MUST PROVE THAT DFA ENGAGED IN
       PREDATORY CONDUCT TO PROVE THEIR SECTION 2 CLAIMS

       Lastly, without even purporting to disagree with any decision of this Court or argument by

DFA on the issue, the Division discusses the type of conduct that might constitute an unlawful

“willful acquisition or maintenance” of monopoly power sufficient to satisfy the second element

of the United States v. Grinnell Corporation10 test for proving a Section 2 violation in a case


between the producer and the consumer, and then the producer and consumer can share the $2 that
is now being levied by the middle party. The question is, How can this be done? By bringing the
producer and consumer together.”); 59 Cong. Rec. 8027 (1920) (statement of Rep. Mann) (“the
experience of mankind is that wherever you eliminate waste between the producer and the
consumer it is to the advantage of both and to the disadvantage of no one”); 59 Cong. Rec. 8028
(1920) (statement of Rep. Larsen) (“This bill provides a method whereby the producer and the
ultimate consumer may be brought closer together and whereby waste may be eliminated.”); 59
Cong. Rec. 8035 (1920) (statement of Rep. Browne) (“I am heartily in favor of this bill. Under it
I believe farmers will cooperate and will eventually eliminate the middleman, and by so doing they
will bring their products to the consumer at a much cheaper rate than the consumer now pays and
with a better profit to themselves.”). The point was not that cooperatives would literally
“eliminate” middlemen, since milk still needs to be processed. The point was that cooperatives
would take on that function and the corresponding revenue stream.
10
        384 U.S. 563 (1966).

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governed by the CVA.11 The Division’s statement on this point begins where it should end, with

a citation to the governing Second Circuit’s pronouncement on that point in Fairdale Farms, Inc.

v. Yankee Milk, Inc., 635 F.2d 1037 (2d Cir. 1980). See SOI at 9. The Division acknowledges, as

it must, that the law in this Circuit, when the CVA is involved, is “that Grinnell does not apply to

monopoly power that results from such acts as the formation, growth and combination of

agricultural cooperatives, but applies only to the acquisition of such power by other, predatory

means.” Fairdale Farms, 635 F.2d at 1045 (emphasis added); see also SOI at 9-10 (discussing

Fairdale Farms). That is the position that DFA has advanced in this case, see DFA’s Reply in

Support of Summary Judgement at 7-9, ECF No. 115, and the interpretation this Court adopted in

its summary judgment ruling, Opinion and Order on Summary Judgement at 55, ECF No. 130

(quoting Fairdale Farms and ruling that “[i]n the instant case, Plaintiffs must go one step further

and establish that Defendants’ monopsony power is derived from predatory acts” (emphasis

added)). The Division’s statement does not purport to take issue with either of those interpretations

of the binding precedent in this Circuit.

       After acknowledging that Fairdale Farms is the controlling law, and that plaintiffs must

prove that DFA acquired monopsony power through “other, predatory acts,” the Division contends

that “[t]he range of conduct that may be considered ‘predatory’ for a Sherman Act Section 2 claim,

and therefore outside the protection of the Capper-Volstead Act, should be construed broadly

because exemptions from the antitrust laws are narrowly construed.”12 SOI at 10. The Division



11
        The elements of the Grinnell test are “(1) the possession of monopoly power in the relevant
market and (2) the willful acquisition or maintenance of that power as distinguished from growth
or development as a consequence of a superior product, business acumen, or historic accident.”
Fairdale Farms, 635 F.2d at 1045 (quoting Grinnell, 384 U.S. at 570-71).
12
        When making this argument, the Division omits that its view on interpreting antitrust
immunities “neither requires nor permits a court to disregard the plain language of the statute when
interpreting an exemption” and that “[c]ourts have repeatedly rejected proposed narrow

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also argues that “the requirement for ‘predatory’ acts generally should be construed as coextensive

with the category of ‘exclusionary’ acts that satisfy the Section 2 element of anticompetitive or

exclusionary conduct.” Id. at 11. At the same time, the Division acknowledges that “[o]f course,

if the conduct is simply collective action between farmers regarding the ‘processing, preparing for

market, handling, and marketing’ of their products, and other requirements of the Capper-Volstead

Act are satisfied, that conduct cannot be treated as predatory, consistent with the purposes of the

Capper-Volstead Act, even if it would qualify as anticompetitive conduct under Section 2.” Id. at

11 n.9 (emphasis added). Although the Division’s positions are in conflict with themselves, the

Court need not strain to reconcile them. The Division acknowledges that Fairdale Farms is the

governing authority and cannot argue that this Court should deviate from that controlling Second

Circuit law. Thus, the Division’s view on the meaning of “predatory” in other Circuits or contexts

has no bearing on the direction of this case, which is proceeding under the faithful interpretation

of binding Second Circuit law on this issue.

                                         CONCLUSION

       Although unresolved statutory-interpretation questions of how to qualify for Capper-

Volstead Act immunity in the first instance remain to be decided in this case, the Division’s

Statement of Interest does not purport to address them. Because the issues the Division has elected

to discuss regarding the scope of the Capper-Volstead Act, once qualified for, are not actually in

dispute or contrary to this Court’s prior rulings in this case, the Division’s statement should have

no effect on the progress of this case going forward.




interpretations of statutory exemptions from the antitrust laws where those interpretations are
inconsistent with the plain language of the statute.” Northland Cranberries, Inc. v. Ocean Spray
Cranberries, Inc., 382 F. Supp. 2d 221, 226-27 (D. Mass. 2004) (rejecting narrow interpretation
of meaning of “persons” within Capper-Volstead Act).

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Dated: August 4, 2020                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system or served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
NEF parties.

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